                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF TENNESSEE
                                          AT GREENEVILLE

UNITED STATES OF AMERICA,                                 )
          Respondent,                                     )
                                                          )
v.                                                        )       No. 2:13-CR-27
                                                          )
                                                          )
TIMOTHY DUNBAR,                                           )
          Petitioner.                                     )

                                        MEMORANDUM AND ORDER

           This criminal case is before the Court on the motion of defendant for a reduction of sentence,

[Doc. 771]. Defendant requests a reduction in sentence pursuant to Amendments 782 and 788 to

the United States Sentencing Guidelines. The United States has responded and acknowledges the

defendant is eligible for a reduction in sentence but defers to the Court’s discretion whether and to

what extent to reduce defendant’s sentence, [Doc. 783]. The motion will be GRANTED in part.

I. Factual and Procedural Background

           The defendant was convicted of participating in a conspiracy to manufacture at least five

grams of methamphetamine in violation of 21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(B). He was held

accountable for 20 grams of actual methamphetamine, resulting in a base offense level of 28. The

base offense level was decreased by three levels pursuant to USSG § 3E1.1(a) & (b) (acceptance of

responsibility), resulting in an adjusted total offense level of 25. The criminal history category was

IV. The guidelines range was 84 to 105 months. The Court imposed an 84-month sentence of

imprisonment.1

           At the time of the entry of his guilty plea, the defendant stipulated to the following facts:




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    The facts are explained in more detail below.

                                                      1

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           a) Through the testimony of several witnesses, including co-
           conspirators, the United States would demonstrate, beyond a
           reasonable doubt, that in the Eastern District of Tennessee
           and elsewhere, from between January 31, 2011 and March 12, 2013,
           the defendant did knowingly, intentionally, and without authority,
           conspire     with    at   least     one     other    person     to
           manufacture methamphetamine, a Schedule II controlled substance.

           b) The conspiracy involved a network of associates that relied on
           coordinated efforts to procure methamphetamine precursors and then
           manufacture methamphetamine. Some of the conspirators' roles
           consisted primarily of obtaining materials, such as purchasing
           pseudoephedrine, and funneling the pills to a cook. The cook would
           consolidate the pills and make the drug utilizing a "shake and bake"
           manufacturing method.

           c) The defendant admits that manufactured methamphetamine in the
           presence of coconspirators Mark Gardner, Joseph Banner, George
           Ricky Thomas, Jeffrey Casey, Michael Travis Smith, Carl Daniel
           Ray, Robert Bennett, Samuel Sanders, Lisa Effler, and others.

           d) The defendant admits that he was supplied with equipment and/or
           precursors which he used to manufacture methamphetamine by co-
           conspirators Misty Potter a.k.a. Misty Briggs, Samuel Sanders,
           Donnie Hensley, Brian Smith, and others.

           e) The defendant admits that he supplied other methamphetamine
           cooks including, but not limited to, Joseph Banner, George Ricky
           Thomas, and Carl Daniel Ray with supplies and/or precursors used
           to manufacture methamphetamine.

           f) The defendant admits to distributing the methamphetamine that he
           manufactured to coconspirator Samuel Sanders and others.

           g) The defendant admits that he taught co-conspirators Spencer
           Yates, Jeffrey Casey, Michael Travis Smith, and Carl Daniel Ray to
           make methamphetamine using a "shake and bake" manufacturing
           method.

           h) The defendant admits to purchasing 25 .44 grams of
           pseudoephedrine which he used himself to manufacture a
           conservative estimate of 12. 72 grams of actual
           methamphetamine. Further, the parties agree for the purposes of
           sentencing that the defendant received between 20 and 40 additional
           grams of pseudoephedrine from other co-conspirators that he used to
           manufacture a conservative estimate of an additional 10 to 20 grams


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               of actual methamphetamine. In total, the defendant admits, and the
               parties agree for the purposes of sentencing, that the
               defendant manufactured more than 20 grams but less than 35 grams
               of actual methamphetamine.

               i) The defendant further agrees that more than 20 grams but less than
               35 grams of actual methamphetamine converts to more than 400 but
               less than 700 kilograms of marijuana.

[Doc. 175].

II. Standard of Review

       “Federal courts are forbidden, as a general matter, to modify a term of imprisonment once

it has been imposed, but the rule of finality is subject to a few narrow exceptions.” Freeman v.

United States, 131 S. Ct. 2685, 2690 (2011) (internal citation and quotation marks omitted). Title

18 United States Code § 3582(c)(2), however, gives a district court authority to modify a term of

imprisonment that has been imposed on a defendant “who has been sentenced to a term of

imprisonment based on a sentencing range that has been subsequently lowered by the Sentencing

Commission,” 18 U.S.C. § 3582(c), through a retroactively applicable amendment such as

Amendment 782. Id.; USSG § 1B1.10. The Court may reduce the term, “after considering the

factors set forth in § 3553(a) to the extent they are applicable, if such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2).

Section 1B1.10 identifies the guideline amendments that may be applied retroactively, and sets out

the factors for deciding a sentence reduction motion under § 3582(c). The Supreme Court has made

clear that § 3582 does not require a sentencing or resentencing proceeding, but gives courts the

power to reduce an otherwise final sentence under circumstances established by the Sentencing

Commission. Dillon v. United States, 560 U.S. 817 (2010); United States v. Curry, 606 F.3d 323,

330 (6th Cir. 2010); USSG § 1B1.10, Cmt. background (noting that a reduction under § 1B1.10 is




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discretionary and “does not entitle a defendant to a reduced term of imprisonment as a matter of

right”).

           Section 3582(c)(2) establishes a two-step inquiry: First, the court must determine whether

the defendant is eligible for a sentence reduction. If she is, the court must then consider whether,

in its discretion, the authorized reduction is warranted in whole or in part under the circumstances.

Dillon, 130 S. Ct. at 2691-92; United States v. Greenwood, 521 Fed. App’x 544, 547 (6th Cir. 2013).

In exercising its discretion, the court is required to consider public safety factors and is permitted

to consider post-sentencing conduct in deciding whether a reduction in the defendant’s term of

imprisonment is warranted. USSG § 1B1.10, Cmt. (n. 1(B)(ii)-(iii)). Thus, the district court is

required to consider both the § 3553(a) factors and “the nature and seriousness of the danger to any

person or the community that may be posed by a reduction in defendant’s term of imprisonment.”

Curry, 606 F.3d at 330 (quoting USSG § 1B1.10, Cmt. n. 1(B)(ii)).

           The relevant factors here demonstrate that a reduction is appropriate. Although the

Statement of Reasons does not indicate that a 5K1.1 motion was granted, the minutes from the

sentencing hearing indicated it was. In addition, this Court recollects that it granted the motion.

The Court granted a one-level reduction and then sentenced the defendant to the middle of the new

range. The Court will use the same sentencing scheme here. As such, with a one level reduction

from the revised range, the level is 23. The criminal history category is still IV. That results in a

range of 63 to 78 months. The Court will sentence at the middle of this range for a sentence of 70

months.

           The Court notes that the defendant asks for an amended sentence of 70 months. However,

the defendant reaches this request in a different manner. Nevertheless, the defendant’s motion is

GRANTED, and his sentence will be reduced to a term of 70 months of imprisonment



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      ENTER:



                                              s/J. RONNIE GREER
                                         UNITED STATES DISTRICT JUDGE




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